  Case 1:20-cv-25022-KMM Document 29-1 Entered on FLSD Docket 01/25/2021 Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:20-cv-25022-JLK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (W

           This summons for (name of individual and title, if any)      Mohammed bin Salman Bin Abdulaziz Al Saud
was received by me on (date)                      01/21/2021

           71 I personally served the summons on the individual at (place)
                                                                                 Oil (date)                            : or

               I left the summons at the individual's residence or usual place of abode with (name)
                                                                 •a person of suitable age and discretion who resides there,
           on (datE9                                and mailed a copy to the individual's last known address; or

                served the summons on (name qf individual)            Mr. Bundy - Authorized Recieving Agent                    • who is
            designated by law to accept service of process on behalf of (name of organization)             Gregory Rapawy,Esq.Counsel
           for Mohammed bin Salman Bin Abdulaziz Al Saud                          on (date)          01/21/2021         or

           11 I returned the summons unexecuted because                                                                              ; or

           n other (specify):


           My fees are $                           for travel and $                   for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



Date:           01/21 /2021
                                                                                              Server's signature

                                                                                          Albert Safewright
                                                                                          Printed name and title

                                                                        22 West 48th Street, Suite 1006 New York, NY 10036


                                                                                              Server 's address

 Additional information regarding attempted service, etc:
 Served with Summons & Complaint:
 Copy of Summons & Complaint in Arabic
 Order: Authorizing Alternative Service
  Case 1:20-cv-25022-KMM Document 29-1 Entered on FLSD Docket 01/25/2021 Page 2 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:20-cv-25022-JLK

                                                      PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and fide, if any)       Mohammed bin Salman Bin Abdulaziz Al Saud
was received by me on (date)                      01/21/2021

           n I personally served the summons on the individual at (place)
                                                                                 Oil (date)                            : or

           171 I left the summons at the individual' s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                                 and mailed a copy to the individual' s last known address; or

               I served the summons on (name of individual)           Mr. Bundy - Authorized Recieving Agent                    , who is
            designated by law to accept service of process on behalf of (neeine of organt:ation)           Andrew C. Shen, Esq.Counsel
           for Mohammed bin Salman Bin Abdulaziz Al Saud                          on (date)          01/21/2021        ; or

           n   I returned the summons unexecuted because                                                                             ; or

               Other (spec):




           My fees are $                           for travel and $                   for services, for a total of $          0.00


           I declare under penalty of perjury that this information is ttue.


 Date:          01/21 /2021
                                                                                              Server's signature

                                                                                          Albert Safewright
                                                                                          Printed name and title

                                                                        22 West 48th Street, Suite 1006 New York, NY 10036



                                                                                              Server S address

Additional information regarding attempted service, etc:
Served with Summons & Complaint:
Copy of Summons & Complaint in Arabic
Order: Authorizing Alternative Service
 Case 1:20-cv-25022-KMM Document 29-1 Entered on FLSD Docket 01/25/2021 Page 3 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:20-cv-25022-JLK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by FeiL R. Civ. P. 4 (0)

           This summons for (name of individual and title, if any)      Mohammed bin Selman Bin Abdulaziz Al Saud
was received by me on (date)                      01/21/2021

           71 I personally served the summons on the individual at (place)
                                                                                  on (date)                             ;   or

           CII left the summons at the individual's residence or usual place of abode with (name)
                                                                 ,a person of suitable age and discretion who resides there,
           on (dare)                               , and mailed a copy to the individual' s last known address; or

           #.11 I served the summons on (name of individuao           Mr. Bundy - Authorized Recieving Agent                       , who is
            designated by law to accept service of process on behalf' of (name of organLation)              Michael Kellog, Esq. Counsel
           for Mohammed bin Selman Bin Abdulaziz Al Saud                          on (date)           01/21/2021        ; or

           n    I returned the summons unexecuted because

           [I   Other (speci




           My fees are $                           for travel and $                   for services, for a total of $             0.00


           I declare under penalty of perjury that this information is t



Date:           01/21/2021
                                                                                               Server's signature


                                                                                              Albert Safewright
                                                                                          .Printed name and tide


                                                                        22 West 48th Street, Suite 1006 New York, NY 10036


                                                                                               Server's address


Additional infot [nation regarding attempted service, etc:
Served with Summons & Complaint:
Copy of Summons & Complaint in Arabic
Order: Authorizing Alternative Service
